                                   UNITED STATES DISTRICT COURT

                                   MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )             Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )        Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )        [PROPOSED] ORDER GRANTING
      vs.                                   )        PLAINTIFF’S MOTION FOR LEAVE TO
                                            )        FILE UNDER SEAL
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )




Cases\4839-2387-9623.v1-8/7/20
Case 3:16-cv-02267               Document 261-1   Filed 08/10/20   Page 1 of 2 PageID #: 7710
          Having considered Plaintiff’s1 Motion for Leave to File Under Seal, IT IS HEREBY

ORDERED that:

          1.        The Memorandum of Law in Support of Plaintiff’s Opposition to CoreCivic’s Motion

to Determine Sufficiency of Responses to CoreCivic’s First Set of Requests for Admission and

Compel Further Responses to CoreCivic’s First Set of Requests for Admission and Second Set of

Interrogatories (“Motion”), as well as the Declaration of Jason A. Forge in Support of Plaintiff’s

Opposition to CoreCivic’s Motion to Determine Sufficiency of Responses to CoreCivic’s First Set of

Requests for Admission and Compel Further Responses to CoreCivic’s First Set of Requests for

Admission and Second Set of Interrogatories and the exhibit thereto (“Forge Declaration”), may be

filed under seal;

          2.        Unless Defendants (as the Producing Party) file a motion for continued sealing on or

before August 24, 2020, the Motion and Forge Declaration shall be unsealed and become part of the

public record without need for further order of the Court; and

          3.        If Defendants (as the Producing Party) file a motion for continued sealing of the

Motion and Forge Declaration, any other party may file a reply to the motion for continued sealing

on or before August 31, 2020.

          IT IS SO ORDERED.

DATED: _________________________                  ____________________________________
                                                  THE HONORABLE ALETA A. TRAUGER
                                                  UNITED STATES DISTRICT JUDGE




1
   “Plaintiff” is Lead Plaintiff and Class Representative Amalgamated Bank, as Trustee for the
LongView Collective Investment Fund. “Defendants” are Corrections Corporation of America
(“CCA”) and certain of its executives. Following the filing of this action, Defendants rebranded
CCA and now refer to it as CoreCivic.


                                                -1-
Cases\4839-2387-9623.v1-8/7/20
Case 3:16-cv-02267               Document 261-1 Filed 08/10/20          Page 2 of 2 PageID #: 7711
